Case 1:11-cv-00853-PLM ECF No. 1, PageID.1 Filed 08/12/11 Page 1 of 7
Case 1:11-cv-00853-PLM ECF No. 1, PageID.2 Filed 08/12/11 Page 2 of 7
Case 1:11-cv-00853-PLM ECF No. 1, PageID.3 Filed 08/12/11 Page 3 of 7
Case 1:11-cv-00853-PLM ECF No. 1, PageID.4 Filed 08/12/11 Page 4 of 7
Case 1:11-cv-00853-PLM ECF No. 1, PageID.5 Filed 08/12/11 Page 5 of 7
Case 1:11-cv-00853-PLM ECF No. 1, PageID.6 Filed 08/12/11 Page 6 of 7
Case 1:11-cv-00853-PLM ECF No. 1, PageID.7 Filed 08/12/11 Page 7 of 7
